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                      EXHIBIT A

          Cure Cost Schedule – Assumed Events
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                                                               Assumed Events
                Counterparty                Counterparty Address                 Event Dates         Brief Description    Effective Date   Cure Amount
                                         Camp William B. Snyder (Boy
                                         Scouts of America)
                                         6100 Antioch Rd, Haymarket, VA
                                         20169
Camp William B. Snyder (Boy Scouts of
                                                                             May 30‐31, 2020      Virginia Venue         9/25/19                $25,000.00
America)                                 National Capital Area Council,
                                         BSA
                                         Attn: Mario Perez
                                         9190 Rockville Pike,
                                         Bethesda, MD 20814
                                         Chicago Rockford International
                                         Airport
                                         Attn: Michael Dunn
Chicago Rockford International Airport                                       August 22‐23, 2020   Chicago Venue          9/30/2019                   $0.00
                                         Greater Rockford Airport
                                         Authority
                                         2 Airport Cir, Rockford, IL 61109
                                         Lake Elsinore
                                         Attn: Mark Beskid
Lake Elsinore                                                                Nov 14‐15, 2020      So Cal Venue           9/30/19                $10,000.00
                                         500 Diamond Dr.
                                         Lake Elsinore, CA 92530
                                         Palmer Coking Coal Company
                                         Attn: William Kombol
Palmer Coking Coal Company                                                   Sept 19‐20, 2020     Seattle Venue          9/19/19                $13,879.00
                                         31407 WA‐169
                                         Black Diamond, WA 98010
                                         Raceway Park
                                         Attn: Michael Napoliello
                                         Old Bridge Township Raceway,
Raceway Park                                                                 Sept 12‐13, 2020     Tri‐State Venue        9/18/19               $110,000.00
                                         Inc.
                                         230 Pension Rd, Englishtown, NJ
                                         07726
                                         Wild Wings of Oneka
                                         Attn: Jeff Hughes
Wild Wings of Oneka                                                          July 11‐12, 2020     Twin Cities Venue      4/9/19                      $0.00
                                         9491 152nd St. N
                                         Hugo, MN 55038
